                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



UNITED STATES OF AMERICA                   )
                                           )
v.                                         )            NO. 2:03-CR-62
                                           )
                                           )
GARY MUSICK and                            )
LITA MUSICK                                )
                                           )


                  MEMORANDUM OPINION AND ORDER

            This matter is before the Court for the sentencing of these defendants

after their conviction by a jury of various drug related and money laundering

offenses. A presentence investigation report has been prepared by the probation

office and provided to all parties. Both defendants have filed various objections to

the presentence report.

            Since these are the first sentencing hearings conducted by this Court

since the Supreme Court’s decision in United States v. Booker, __ S. Ct.__, 2005 W.

L. 50108 (January 12, 2005), the Court feels compelled to address the manner in

which it will approach sentencing decisions post- Booker, so that counsel in this

case and counsel in future cases will have some guidance on how to approach

these issues.


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            The Supreme Court held in Booker that the United States Sentencing

Guidelines, promulgated pursuant to the Sentencing Reform Act of 1984 (18

U.S.C. § 3551 et seq.) violated the defendant’s Sixth Amendment right to a jury

trial because they require judges to find facts used to increase a sentence beyond

what could be imposed based solely on the jury verdict. The Court’s remedy was

to sever the two provisions in the Act that make the guidelines mandatory, e.g. 18

U.S.C. §§ 3553(b)(1) and 3742(e). The excision of these two unconstitutional

provisions from the Sentencing Reform Act of 1984 makes the Federal Sentencing

Guidelines effectively advisory.

            As this Court understands the Booker decision, the Court must decide,

on a case by case basis, what sentence is reasonable in the case based upon a

consideration of the otherwise applicable guidelines range as well as the other

statutory factors which are set forth in the Sentencing Reform Act. Title 18,

U.S.C. § 3553(a) requires a sentencing court to consider:

       (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed –
             (A) to reflect the seriousness of the offense, to promote
       respect for the law and to provide just punishment for the offense;
             (B) to afford adequate deterrence to criminal conduct;
             (C) to protect the public from further crimes of the defendant;
       and
             (D) to provide the defendant with needed educational or

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       vocational training, medical care, or other correctional treatment in
       the most effective manner;
       (3) the kinds of sentences available;
       (4) the kinds of sentence and the sentencing range established for:
             (A) the applicable category of offense committed by the
       applicable category of defendant as set forth in the guidelines issued
       by the Sentencing Commission . . .;
       (5) any pertinent policy statement issued by the Sentencing
       Commission . . .;
       (6) the need to avoid unwarranted sentence disparities among
       defendants with similar records who have been found guilty of
       similar conduct; and
       (7) the need to provide restitution to any victims of the offense.


               The question left unanswered by the Supreme Court’s holding is this:

How much weight should be given by a sentencing judge to the guidelines in

determining what sentence to impose in any particular case? There seem to be

three possible alternatives available to the court in determining the weight to be

given to the guidelines in light of the Booker decision. These possible

interpretations are:

               1. The guidelines are truly advisory only and we have returned to an

indeterminate sentencing system with the trial judge free to impose whatever

sentence he believes to be reasonable and for whatever reasons he deems relevant

within the applicable statutory minimum and maximum punishment provided for

the offense;

               2. The guidelines, although advisory and only one factor among


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others to be considered in arriving at a reasonable sentence, are congressionally

approved policy statements entitled to significant weight in the sentencing

decision; and

            3. Although advisory, the guidelines establish a presumptively

reasonable sentence and departure from within the guideline range should occur

only in extraordinary cases.

            In deciding the question of how much weight the guidelines should

carry in arriving at a reasonable sentence, this Court has read and reread the

majority opinions in Booker, as well as the dissenting opinions, has considered the

opinions of various legal commentators and scholars and has considered the legal

and factual background of the Sentencing Reform Act of 1984 and the purposes to

be achieved in criminal sentencing by a federal district court. Based upon that

review, this Court believes, post Booker, that the guidelines, although advisory and

only one factor among others to be considered in arriving at a reasonable sentence,

are entitled to substantial weight in the sentencing decision. Only when clearly

outweighed by some other factor(s) set forth in § 3553(a) will the Court be inclined

to sentence outside the appropriate guideline range.

            Not only are the sentencing guidelines a clear statement of

congressional purpose, the United States Sentencing Commission has taken into

consideration in formulating the guidelines the various other purposes for the

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sentence to be imposed set forth in 18 U.S.C. § 3553(a)(2). Perhaps most

importantly, it is only through the use of some standards or guidelines that courts

can achieve one of the major goals of the Sentencing Reform Act, that is, the

elimination of unwarranted disparities in sentencing that often occurred prior to the

implementation of the Federal Sentencing Guidelines, a goal which, by the way, is

laudable. This Court firmly believes that similarly situated defendants who have

committed substantially similar crimes should receive substantially similar

punishment for their crimes.

            While many district judges who have expressed displeasure with the

mandatory application of the guidelines may read Booker as standing for the

proposition that the guidelines are “history” and that we have now returned to an

indeterminate sentencing system similar to that in place prior to the guidelines, this

Court rejects such a notion. Such a position would require the court to ignore the

Booker majority’s statement that “[t]he district courts, while not bound to apply the

guidelines, must consult those guidelines and take them into account when

sentencing.” Booker at 21-22. Despite the statement contained in Justice Scalia’s

dissent that “logic compels the conclusion that the sentencing judge, after

considering the recited factors (including the guidelines), has full discretion, as full

as what he possessed before the act was passed, to sentence anywhere within the

statutory range”, such a conclusion would mean that the sentencing judge had to

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give only lip service to consideration of the guidelines but could otherwise

disregard them totally. Not unimportantly, such a conclusion would also

completely frustrate the clearly expressed congressional policy of uniform

sentencing.

              This Court likewise rejects the viewpoint that the guidelines establish

some sort of presumptively reasonable sentence and that departure from within the

guideline range should occur only in extraordinary circumstances – circumstances

akin to the circumstances justifying an upward or downward departure under the

guidelines. Such an approach would completely frustrate the majority holding that

the federal sentencing guidelines are subject to the jury trial requirements of the

Sixth Amendment and would in reality constitute a return to the previous system.

Such a result would render Booker truly much “ado about nothing.”

              For all these reasons, this Court concludes that in exercising its

discretion in imposing reasonable sentences, the Court will afford significant

weight to the range of imprisonment recommended by the guidelines but will

deviate from those guidelines where there exist clearly identifiable and persuasive

reasons consistent with the statute for doing so. In those cases where the court

deviates from the applicable guideline range, the Court will explain on the record

its reasons for doing so.



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            Given the Court’s approach to sentencing in criminal cases post-

Booker, as set forth above, this Court will continue to follow all procedural aspects

of the sentencing process as before. In other words, the Court will continue to

order the preparation of a presentence investigation report that contains guideline

calculations, including calculations based upon the “all applicable adjustments”;

counsel will continue to serve the probation officer and opposing counsel with any

objections to the presentence report; and the Court will continue to resolve

objections as before, either based upon the written objections of the parties where

no evidentiary hearing is required or after the sentencing hearing in those cases

where further evidence must be heard by the court. The Court will then impose a

reasonable sentence applying all the factors set forth in 18 U.S.C. § 3553(a), giving

significant consideration to the recommended guidelines range.



  DEFENDANTS’ OBJECTIONS TO THE PRESENTENCE INVESTIGATION

                                     REPORT

A. GARY MUSICK’S OBJECTIONS

      The defendant has filed twenty-three (23) intertwining rambling objections,

without citation to a single authority to support his position. The Court will only

address those objections that would affect his guideline range.



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CAREER OFFENDER

             The defendant objects to his classification as a career offender.

In United States v. Rice, 66 Fed.Appx. 591, 596-597, 2003 WL 21277334, *5 (6th

Cir.(Tenn.)), the Sixth Circuit explained the requirements which must be met to

sentence a defendant as a career offender:

                   To be sentenced as a career offender under the
                   Sentencing Guidelines,
                   (1) a defendant must be at least eighteen years old at
                   the time of the instant offense,
                   (2) the instant offense must be a crime of violence or a
                   controlled substance offense, and
                   (3) the defendant must have at least two prior felony
                   convictions of either a crime of violence or a
                   controlled substance offense. U.S.S.G. § 4B1.1.


In Rice, the Sixth Circuit concluded that Rice's attempted sodomy conviction must be

both an adult conviction under the relevant state law, and satisfy the conditions of §

4A1.2 based upon the definition of “prior felony conviction” set out at U.S.S.G. §

4B1.2, comment, (n. 1). A "prior felony conviction" is defined in that application

note as follows:

                   “Prior felony conviction” means a prior adult federal
                   or state conviction for an offense punishable by death
                   or imprisonment for a term exceeding one year,
                   regardless of whether such offense is specifically
                   designated as a felony and regardless of the actual
                   sentence imposed. A conviction for an offense
                   committed at age eighteen or older is an adult
                   conviction. A conviction for an offense committed

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                    prior to age eighteen is an adult conviction if it is
                    classified as an adult conviction under the laws of the
                    jurisdiction in which the defendant was convicted (e.g.,
                    a federal conviction for an offense committed prior to
                    the defendant's eighteenth birthday is an adult
                    conviction if the defendant was expressly proceeded
                    against as an adult). (emphasis added)


             The issue is this case is the same issue that the Court addressed in Rice

because the defendant Gary Musick’s juvenile adjudication committed prior to age

eighteen must qualify as a “prior felony conviction” for him to qualify as a career

offender. On May 6, 1998, at age 17, the defendant was adjudicated delinquent for

possession of drug paraphernalia and possession of cocaine for resale in the Juvenile

Court of Hamblen County, Tennessee.

             Tenn Code Ann. §37-1-133(a) provides:

                    An order of disposition or other adjudication in a
                    proceeding under this part is not a conviction of a
                    crime.......

Therefore, Musick’s juvenile adjudication committed prior to age eighteen is not an

adult conviction because it is neither classified as an adult conviction under the laws of

the jurisdiction in which the defendant was adjudicated delinquent, i.e. Tennessee, nor

was Musick sentenced as an adult. Because his juvenile adjudication is not a "prior

felony conviction", the defendant Musick does not qualify as a career offender under

U.S.S.G. § 4B1.1.


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Accordingly, the defendant’s objection to being classified as a career offender is

SUSTAINED.



CRIMINAL HISTORY CATEGORY

             The defendant also objects to the calculation of his criminal history

category.    The defendant received two (2) criminal history points for his juvenile

adjudication on May 6, 1998, three (3) criminal history points for his conviction on

November 17, 2000 for two counts of the delivery of Schedule II drugs, two (2)

criminal history points for being on probation for his November 17, 2000 conviction,

and one (1) criminal history point for committing the instant offense less than two

years following the defendant’s release from custody for the sentence imposed for his

November 17, 2000 conviction.

             Musick contends that his prior juvenile adjudication and his conviction on

November 17, 2000 for drug offenses are part of the same offense as this case and

should not be counted in his history calculation. Criminal history points are assessed

for prior sentences under U.S.S.G. § 4A1.1. The term “prior sentence” means any

sentence previously imposed . . . for conduct not part of the instant offense. U.S.S.G. §

4A1.2(a)(1). The government has consistently argued that the acts committed by the

defendant in regard to his juvenile adjudication on May 6, 1998 and his conviction on

November 17, 2000 were acts committed in the furtherance of the conspiracy charged

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in this indictment which allegedly began in January of 1998. The defendant

previously argued that evidence of these offenses was not admissible because the

government had failed to file a notice pursuant to Rule 404(b) in regard to prior bad

acts.

             Accepting the government’s argument that these offenses were not Rule

404(b) evidence but rather acts in furtherance of the conspiracy, the Court admitted

evidence related to Musick’s juvenile adjudication on May 6, 1998 and his conviction

on November 17, 2000 at trial. The Court also found that this evidence was not Rule

404(b) evidence because these were not prior bad acts.

             The facts of this case are directly on point with United States v. Walker,

210 F.3d 373, 2000 WL 353518, *2-3 (6th Cir.(Mich.)) (unpublished), in which the

government cited United States v. Beddow, 957 F.2d 1330 (6th Cir.1992) and United

States v. Escobar, 992 F.2d 87 (6th Cir.1993) to support its position that the

defendant’s felon-in-possession charge and his conspiracy to commit bank robbery and

armed bank robbery charges were not related, and therefore, his felon-in-possession

charge could be used as a prior conviction for purposes of calculating his criminal

history category.

             In Walker, the Sixth Circuit concluded that the district court’s finding that

the prior sentence was properly counted as a prior sentence when calculating Walker's

criminal history category because it was for a "separate and different offense" and was

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"severable into two distinct offenses" was clearly erroneous and remanded the case for

resentencing. The court in Walker, 2000 WL 353518 at 2-3, explained:

                   The facts in this case are decidedly different from the
                   cases cited by the government to support its position
                   that the cases are not related. United States v. Beddow,
                   957 F.2d 1330 (6th Cir.1992); United States v. Escobar,
                   992 F.2d 87 (6th Cir.1993). In this case, there is an
                   additional factor not present in the cited cases: evidence
                   from the first conviction was not used to convict the
                   defendant in the subsequent conviction in the other
                   case. Here it was used as evidence. The ammunition
                   found during the January search that led to the
                   possession charge was "inextricably intertwined" with
                   the armed robbery conspiracy charge because without
                   the ammunition and shotgun shell found during that
                   search, Walker might not have been convicted.
                   Furthermore, we note that had the investigation into to
                   the robbery been completed more quickly, it is likely
                   that the felon-in-possession charge would have been
                   consolidated with the conspiracy to commit armed
                   robbery charge. (emphasis added)


            In this case as in Walker, evidence from the defendant’s juvenile

adjudication and his adult felony conviction were used to convict the defendant. The

Court FINDS that evidence found during the January 31, 1998 search that led to

Musick’s 1998 possession charge and the proof that Musick had pled guilty to the

distribution of cocaine in 2000 was "inextricably intertwined" with the conspiracy

charge because without this evidence, Musick might not have been convicted.

Furthermore, as in Walker, had the investigation into the conspiracy to distribute and to


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possess with the intent to distribute cocaine charge been completed more quickly, it is

likely that the delivery of Schedule II drugs would have been consolidated with the

conspiracy to distribute and to possess with the intent to distribute cocaine charge.

              "Prior sentence" is defined in § 4A1.2 as "any sentence previously imposed

upon adjudication of guilt .... for conduct not part of the instant offense."

In admitting at trial evidence which resulted in Musick’s juvenile adjudication on May

6, 1998 and evidence of his conviction on November 17, 2000 as acts in the furtherance

of the conspiracy in question, this Court has concluded that these acts were conduct that

was part of the instant offense and these offenses are not a "prior sentence" for purposes

of calculating the defendant’s criminal history category.

              Accordingly, the defendant should not receive two (2) criminal history

points for his juvenile adjudication on May 6, 1998, three (3) criminal history points

for his conviction on November 17, 2000 for two counts of the delivery of Schedule II

drugs, two (2) points for being on probation for his November 17, 2000 conviction, and

one (1) point for committing the instant offense less than two years following the

defendant’s release from custody for the sentence imposed for his November 17, 2000

conviction.

              The defendant also argues that his two (2) misdemeanor convictions on

May 10, 2000 for arrests on February 21, 2000 and April 26, 2000 are not countable

because they are related to the 1998 adjudication of delinquency and the November,

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2000 conviction. Defendant made a proffer that he obtained the drugs from the same

source (which he declined to identify) and intended to sell them to the same undercover

officer involved in the July 7, 2000 indictment (November 2000 conviction). These

misdemeanors possession charges are separate and different offenses, not used as

evidence in this case and, according to the defendant, part of a different conspiracy.

These convictions are countable.

             The Court FINDS that the defendant’s total criminal history points are four

(4) based upon his two misdemeanor drug convictions on May 10, 2000 for offenses

that occurred on February 21, 2000 and April 26, 2000. Therefore, the defendant’s

criminal history category is III.



ACCEPTANCE OF RESPONSIBILITY

             The defendant cites no authority for the proposition that he is entitled to

acceptance of responsibility even though he pled not guilty to all charges and went to

trial. Contrary to the defendant’s position, the government need not prove that the

defendant did not accept responsibility, it is the defendant’s burden to clearly

demonstrate acceptance of responsibility for his offense. U.S.S.G. § 3E1.1. See United

States v. Farrelly, 389 F.3d 649, 656 (6th Cir. 2004) This adjustment is not intended to

apply to a defendant who puts the government to its burden of proof at trial by denying

the essential factual elements of guilt, is convicted, and only then admits guilt and

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expresses remorse. § 3E1.1 at cmt. n.2. The Court FINDS that the defendant has failed

to clearly demonstrate acceptance of responsibility for his offenses, that he is not

entitled to acceptance of responsibility, and his objection in this regard is

OVERRULED.



BASE OFFENSE LEVEL FOR COUNTS 3, 4, AND 7

             On September 17, 2004, the defendant was convicted of Count 3 of the

indictment which charged a conspiracy to conduct and attempt to conduct financial

transactions knowing that the transactions were designed in whole or in part to

conceal or disguise the nature, the location, the source, the ownership, or control of

the proceeds of specified unlawful activity, to wit: the possession with the intent to

distribute and the distribution of cocaine, a Schedule II controlled substance. He was

also convicted of Count 4 of the indictment which charged that he and Lita Musick,

aided and abetted by each other, knowingly and willfully conducted and attempted to

conduct a financial transaction affecting interstate commerce: to wit: the payment of

$28,000.00 cash for the purchase of a tract of real property in Hamblen County,

Tennessee, said payment involving the proceeds of a specified unlawful activity, that

is the distribution of cocaine. During trial, this property was identified as the Spring

Creek property.    In addition, the defendant was convicted of Count 7 of the

indictment which charged that he and Lita Musick, aided and abetted by each other,

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knowingly and willfully conducted and attempted to conduct a financial transaction

affecting interstate commerce: to wit: the payment of $15,000.00 cash for the

purchase of a Lincoln Navigator, said payment involving the proceeds of a specified

unlawful activity, that is the distribution of cocaine.

             In their forfeiture verdict, the jury concluded that the value of funds subject

to forfeiture in regard to Count 3 was $1,000,000.00 plus the Spring Creek property as

recorded on October 23, 2001, in the State of Tennessee, County of Hamblen, Register

of Deeds Office Book 834, Pages 34-35 which had a $28,000.00 down payment.

             Therefore, the defendants’ base offense level for the money laundering

offenses is calculated as follows:

       1. Base offense level §2S1.1(a)(2)                  8

       2. Value of the funds §2S1.1(a)(2)
          $1,028,000.00 §B1.1(b)(1)(I)                 +16

       3. Proceeds of distribution of
          a controlled substance §2S1.1(b)(1)             +6

       4. Violation of 18 § 1956 §2S1.1(b)(2)(B)          +2

                                 TOTAL                    32



QUANTITY OF DRUGS USED TO ESTABLISH THE BASE OFFENSE LEVEL

      The defendant objected to the quantity of cocaine used to calculate his base

offense level for his conviction in regard to Count 1which charged him with a

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conspiracy to distribute and to possess with the intent to distribute a quantity of cocaine.

This objection is MOOT because the Court will consider the offense level for Counts 3,

4, and 7, i.e. the money laundering conspiracy and money laundering offenses, to

sentence the defendant because these counts have a higher offense level.

Section 3D1.1(a)(2) of the U.S. Sentencing Guidelines Manual instructs that after

grouping offenses under § 3D1.2, a court should determine the offense level applicable

to each group by applying the rules set forth in § 3D1.3. Section 3D1.3(b) calls for

applying the offense guideline that produces the highest offense level. Jenkins v. United

States, 2005 WL 27080, *3 (6th Cir.(Ky.)).        While probation determined the

defendant’s drug offense had a base offense level of 24, this Court must use the base

offense level for the defendant’s money laundering counts which is 32.

             Based upon the foregoing reasons, and the record as a whole, the Court

FINDS as follows:

             In regard to the defendant Gary Musick:

             a. His offense level is 32.

             b. His criminal history category is III.

             c. His sentencing range is 151 to 188 months.



      B. LITA MUSICK’S OBJECTIONS

             The defendant Lita Musick objects to the six (6) point enhancement that

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she received in regard to her money laundering counts because these counts involved

the proceeds of the distribution of a controlled substance. U.S.S. G. § 2S1.1(b)(1). She

contends that the jury verdict does not indicate that the felonious unlawful activity

involved in these convictions was the distribution of a controlled substance. Based on

the evidence at trial, she contends that the felonious activity was gambling. However,

during the trial of this case, the Court specifically charged the jury that the gambling

described during the testimony at trial could not constitute the felonious

unlawful activity. Therefore, it is hereby ORDERED that the defendant’s objection in

regard to this six (6) point enhancement is DENIED.



             E N T E R:
                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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